       Case 4:06-cr-00082-DPM            Document 102        Filed 10/11/06       Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   No. 4:06CR00082-05 JLH

JACKIE PORCHAY                                                                         DEFENDANT


                                              ORDER

       Jackie Porchay has moved for return of property seized by law enforcement officials during

a search of her house. Her motion states that due to the dismissal of the indictment against her, there

are no criminal charges pending, so the property should be returned. The United States moved to

dismiss the indictment on the grounds that the indictment was returned against Jacquelyn Porchay

instead of Jackie Porchay, which was simply a misnomer. The United States reports that the grand

jury has returned a true bill on a new indictment correctly naming Jackie Porchay. Ms. Porchay’s

lawyer has conceded that in light of the new indictment the motion for return of property is moot.

       Therefore, the motion for return of property is denied as moot. Document #88.

       IT IS SO ORDERED this 11th day of October, 2006.




                                               J. LEON HOLMES
                                               UNITED STATES DISTRICT JUDGE
